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                      Exhibit 21
        FILED UNDER SEAL
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                                                                    Page 1
                 IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF LOUISIANA
        IN RE:    XARELTO (RIVAROXABAN):MDL 2592
        PRODUCTS LIABILITY LITIGATION:
                                              :SECTION L
        THIS DOCUMENT RELATES TO              :
        ALL CASES                             :JUDGE ELDON E. FALLON
                                              :MAG. JUDGE NORTH




                                     - - -
                                 NOVEMBER 22, 2016
                                      - - -


                                 - PROTECTED -
              - SUBJECT TO FURTHER PROTECTIVE REVIEW -


                  Videotaped deposition of ROBERT C.
        GOSSELIN, held at The Fairmont Hotel, 170 South
        Market Street, San Jose, California, on the above
        date, beginning at approximately 6:23 a.m., before
        Diane S. Martin, Certified Shorthand Reporter and
        Certified Realtime Reporter.


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                  877.370.3377 ph | 917.591.5672 fax
                              deps@golkow.com




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                                                                    Page 2
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   2
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  24
  25    The Videographer:               Joseph Mourgos


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                                                                  Page 176
   1    be optimal for or mimic patient samples.
   2    BY MS. DAVIS:
   3         Q.    So will you agree that another sort of issue
   4    in doing coagulation testing regarding Xarelto,
   5    rivaroxaban, is that there may be differences
   6    between results in spike samples versus patient
   7    samples?
   8         A.    Yes.   We published that findings, yes.
   9         Q.    So that then presents a difficulty in
 10     knowing or being able to say that results in a
 11     spiked sample are -- can be correlated to results
 12     in a human sample; right?
 13          A.    I think that we've demonstrated that it's
 14     not always the case where they can be mimicked
 15     between a contrived sample or a drug-enriched
 16     sample, as I like, versus "spiked," versus a series
 17     of clinical samples.
 18          Q.    Going back to this statement in the Hillarp
 19     article, and just sort of narrowing it down a bit, the
 20     Hillarp -- Hillarp authors state in part that "PT is
 21     not useful for measuring the plasma concentration of
 22     rivaroxaban and can merely be used to obtain a crude
 23     estimate."
 24                Do you agree with that?
 25          A.    I'd have to read --



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   1                       REPORTER'S CERTIFICATE
   2             The undersigned Certified Shorthand Reporter
   3    licensed in the State of California does hereby
   4    certify:
   5             I am authorized to administer oaths or
   6    affirmations pursuant to Code of Civil Procedure,
   7    Section 2093(b), and prior to being examined, the
   8    witness was duly administered an oath by me.
   9             I am not a relative or employee or attorney or
 10     counsel of any of the parties, nor am I a relative or
 11     employee of such attorney or counsel, nor am I
        financially interested in the outcome of this action.
 12              I am the deposition officer who
 13     stenographically recorded the testimony in the
 14     foregoing deposition, and the foregoing transcript is a
 15     true record of the testimony given by the witness.
 16              Before completion of the deposition, review of
 17     the transcript [X] was [ ] was not requested.            If
 18     requested, any changes made by the deponent (and
 19     provided to the reporter) during the period allowed are
 20     appended hereto.
 21              In witness whereof, I have subscribed my name
 22     this ____ day of __________, 2016.
 23
 24                             _______________________________
 25                             DIANE S. MARTIN, CSR No. 6464



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